Case 3:90-cr-00189-D         Document 40       Filed 01/03/06        Page 1 of 1    PageID 466



                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §           NO. 3-90-CR-0189-D(02)
                                                §           NO. 3-05-CV-2444-D
WILLIE VAN JOHNSON                              §
                                                §
               Defendant.                       §

                                            ORDER

       After conducting a review of the pleadings, files and records in this case, and the Findings

and Recommendation of the United States Magistrate Judge in accordance with 28 U.S.C.

§ 636(b)(1), I am of the opinion that the Findings and Recommendation of the Magistrate Judge are

correct and they are hereby accepted as the Findings of the Court.

       SO ORDERED.

       January 3, 2006.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             UNITED STATES DISTRICT JUDGE
